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                               Nebraska Supreme Court Advance Sheets
                                        311 Nebraska Reports
                                                 STATE v. BUCKMAN
                                                  Cite as 311 Neb. 304



                                        State of Nebraska, appellee, v.
                                        Herman D. Buckman, appellant.
                                                     ___ N.W.2d ___

                                           Filed April 1, 2022.     No. S-21-399.

                 1. Motions to Dismiss: DNA Testing: Appeal and Error. A motion to
                    dismiss a proceeding under the DNA Testing Act after testing has been
                    completed is addressed to the discretion of the trial court, and unless
                    an abuse of discretion is shown, the trial court’s determination will not
                    be disturbed.
                 2. DNA Testing: Appeal and Error. An appellate court will uphold a trial
                    court’s findings of fact related to a motion for DNA testing unless such
                    findings are clearly erroneous.
                 3. DNA Testing. Postconviction DNA evidence that does not falsify or
                    discredit evidence that was necessary to prove an essential element of
                    the crime does not exonerate the movant.
                 4. ____. When DNA test results are either inculpatory, inconclusive, or
                    immaterial to the issue of the person’s guilt, the results will not entitle
                    the person to relief under the DNA Testing Act.
                 5. ____. If DNA testing does not detect the presence of a prisoner’s DNA
                    on an item of evidence, such result is at best inconclusive, especially
                    when there is other credible evidence tying the defendant to the crime.

                  Appeal from the District Court for Lancaster County: Susan
               I. Strong, Judge. Affirmed.

                 Robert W. Kortus, of Nebraska Commission on Public
               Advocacy, for appellant.

                  Douglas J. Peterson, Attorney General, and Erin E. Tangeman
               for appellee.
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            Nebraska Supreme Court Advance Sheets
                     311 Nebraska Reports
                            STATE v. BUCKMAN
                             Cite as 311 Neb. 304
    Miller-Lerman, Cassel, Stacy, Funke, and Papik, JJ.
    Cassel, J.
                       I. INTRODUCTION
   For a second time, Herman D. Buckman obtained testing on
evidence under the DNA Testing Act. 1 After receiving results
of the testing, the State moved to dismiss the proceeding. The
court sustained the motion, and Buckman appeals. Because the
test results did not exonerate or exculpate Buckman, we affirm
the judgment of the district court.
                        II. BACKGROUND
                       1. General History
   In 1988, law enforcement found Denise Stawkowski lying
across the front seat of her car, dead from two gunshot wounds
to her head. The State charged Buckman with first degree mur-
der of Stawkowski and use of a weapon to commit that felony.
   According to evidence at trial, Stawkowski sold drugs to a
number of individuals, including Buckman and his girlfriend,
Goldie Fisher. There was evidence that Buckman felt he had
been cheated by Stawkowski on either the quantity or the qual-
ity of drugs he had been buying from her.
   A few hours before Stawkowski’s murder, Buckman and
Fisher tried to sell or trade a “.38 Special” gun to Stawkowski’s
husband in return for drugs. The same caliber gun was used to
kill Stawkowski. Evidence at trial established that Buckman
often wore slippers in public. Investigators located two brown
slippers near Stawkowski’s car. One slipper was discovered on
the shoulder of the road south of the car’s location, and the
other was found in a nearby field.
   Stawkowski’s purse contained roughly $2,000 and three
“eight-balls” of cocaine when she was with Fisher at approxi-
mately 1 a.m. on February 19, 1988. These items were not
found with Stawkowski’s body. Later on February 19, Buckman
1
    Neb. Rev. Stat. §§ 29-4116 to 29-4125 (Reissue 2016).
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         Nebraska Supreme Court Advance Sheets
                  311 Nebraska Reports
                       STATE v. BUCKMAN
                        Cite as 311 Neb. 304
and Fisher spent large amounts of cash. A day earlier, they
were trying to sell clothing in an effort to get money to pay
Fisher’s babysitter. When Buckman was arrested, he had $656
in cash in his possession and the clothing items he and Fisher
had tried to sell were still in his car.
   Hours before discovery of the murder, a witness picked up
Fisher on a road near where Stawkowski’s body was found.
Other evidence placed Fisher with Buckman in the hours
before and after the murder. A cellmate of Buckman testi-
fied that Buckman bragged of killing Stawkowski in Fisher’s
presence and using the money he stole from Stawkowski to
pay debts.
   As part of the original investigation of the murder, Dr. Reena
Roy, a forensic serologist with the Nebraska State Patrol,
tested bloodstains found on various items. Roy concluded that
small amounts of blood on a jacket, a sweater, and jeans that
Buckman was wearing at the time of arrest, on the brown slip-
pers located in the area where Stawkowski’s car was found,
and on the steering wheel cover and floormats of Buckman’s
car contained blood group A and adenylate kinase enzyme
(AK) of 2-1. That blood combination was consistent with
Stawkowski’s genetic markers, but it excluded approximately
96.5 percent of the Caucasian and 99.5 percent of the African-
American populations.
   According to evidence at trial, Buckman smoked Kool ciga-
rettes and opened his cigarette packages from the bottom. A
Kool cigarette butt and a Camel cigarette butt were found on
the rear floorboard in Stawkowski’s car. A package of Kool
cigarettes, opened from the bottom, was located in a field near
the car. Dr. Moses Schanfield tested the cigarette butts and
concluded that Buckman could not be excluded as the person
who smoked them. Schanfield stated that only 0.7 percent
of the Caucasian population and 4.8 percent of the African-
American population could have been the donor of the saliva
found on the Kool cigarette butt and that Buckman fell within
that 4.8 percent.
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              Nebraska Supreme Court Advance Sheets
                       311 Nebraska Reports
                             STATE v. BUCKMAN
                              Cite as 311 Neb. 304
   A jury convicted Buckman of first degree murder and use of
a deadly weapon to commit a felony. 2 The trial court imposed
sentences, including life in prison for the murder conviction.
   On direct appeal, Buckman challenged the sufficiency of
the evidence, in addition to several other issues. 3 We rejected
all of the assigned errors and stated that a myriad of detailed
evidence supported the convictions. 4
   In 1998, Buckman moved for postconviction relief. The dis-
trict court denied the motion without an evidentiary hearing. 5
We affirmed, finding no merit to Buckman’s claims of ineffec-
tive assistance of trial counsel.
   Buckman subsequently sought testing of bloodstains and
cigarette butts under the DNA Testing Act. The district court
ordered testing, which the University of Nebraska Medical
Center (UNMC) performed. UNMC tested Buckman’s jacket,
sweater, and jeans, as well as cuttings from his jacket, for
hemoglobin, but did not detect any blood. DNA testing on
areas of Buckman’s jacket, sweater, and cap did not detect a
DNA profile. UNMC tested cuttings from each slipper: one
was negative for hemoglobin, and one was a weak positive for
hemoglobin, but no DNA profile was found on the cuttings.
UNMC attempted to extract DNA from the cigarette butts, and
the results were inconclusive.
   The district court denied Buckman’s motion to vacate and
set aside his convictions after concluding that none of the
evidence from UNMC’s testing exonerated Buckman, excul-
pated him, or proved Buckman’s innocence. The court denied
Buckman’s motion for new trial after concluding that there
was no reasonable possibility UNMC’s testing results, if
2
    See   State v. Buckman, 237 Neb. 936, 468 N.W.2d 589 (1991).
3
    See   id.4
    See   id.5
    See   State v. Buckman, 259 Neb. 924, 613 N.W.2d 463 (2000).
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            Nebraska Supreme Court Advance Sheets
                     311 Nebraska Reports
                           STATE v. BUCKMAN
                            Cite as 311 Neb. 304
presented at trial, would have produced a different result.
We affirmed. 6
          2. Instant Proceeding for DNA Testing
   In 2016, Buckman filed a motion requesting DNA testing
on Stawkowski’s panties. After the State filed an inventory,
which included items that were unavailable at the time of
Buckman’s previous proceeding for DNA testing, Buckman
added a request that blood on the steering wheel cover and
floormats of his car be tested. The court sustained Buckman’s
request for DNA testing on those items and appointed counsel
to represent him.
              (a) Evidence Relating to Items Tested
   The items tested—panties, steering wheel cover, and floor-
mats—had been held in a semi-trailer truck. The trailer lacked
temperature or humidity control. Mellissa Helligso, a forensic
DNA analyst, performed DNA testing on the items. When
asked if she found any evidence of heat damage with respect
to the steering wheel cover or the floormats, Helligso answered
that she was unable to tell the difference between degradation
and low-level DNA. But extreme heat or cold did not affect her
ability to test the panties. If there were concerns of heat, light,
or moisture, the concerns would have exhibited themselves on
the panties, and they did not.
   As to the items, we set forth background information and
evidence from trial and then evidence concerning Helligso’s
testing.
            (i) Steering Wheel Cover and Floormats
   Prior to trial, the steering wheel cover and floormats were
submitted to Roy for testing. She scraped the cover by using a
scalpel to take blood off of four different areas and tested for
blood group and AK. She also tested blood from both front
floormats. The results were blood group A and AK 2-1.
6
    See State v. Buckman, 267 Neb. 505, 675 N.W.2d 372 (2004).
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         Nebraska Supreme Court Advance Sheets
                  311 Nebraska Reports
                       STATE v. BUCKMAN
                        Cite as 311 Neb. 304
   Helligso had concerns that the amount of DNA was so low
that it was undetected with her quantification assay. She did
not detect any blood on the steering wheel cover or the floor-
mats. Helligso testified that the fact she did not detect any
blood did not mean that there was not blood at the time of
Roy’s initial testing.

                            (ii) Panties
   During opening statements, counsel for both parties made
reference to Stawkowski’s having engaged in sexual inter-
course with someone other than her husband. The prosecu-
tor stated:
         You’ll also hear evidence during the autopsy Dr. [Daniel
      J.] Till found that there was semen in . . . Stawkowski’s
      vagina. The evidence will be that she and her husband
      had not had sexual intercourse that day. . . . There’s no
      indication that she had sexual intercourse with anyone
      else. There’s no indication that she had been sexually
      assaulted. When her body was found, her clothes were
      not in disarray. She was fully clothed. Again, there’s no
      indication that this has anything to do with this case, but
      you will hear that evidence.
Defense counsel stated that Stawkowski “had sex” with some-
body other than her husband and that “[t]hat’s in dispute . . .
and that’s important.”
   Daniel J. Till, M.D., a pathologist, testified at trial that he
performed a forensic autopsy on Stawkowski on February 19,
1988. He testified that her body was clothed when found. Till
opined that her death occurred sometime in the early morn-
ing hours of February 19, with a timeframe of 1 to 3:30 a.m.,
and that sperm found in Stawkowski’s vagina could have been
there within 8 hours of her death.
   Schanfield tested various items for immunoglobulin allo-
types, ABO blood group substance, and Lewis blood group
substance. Based on his results of the panties extract and
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         Nebraska Supreme Court Advance Sheets
                  311 Nebraska Reports
                       STATE v. BUCKMAN
                        Cite as 311 Neb. 304
the vaginal swab extract, he was not able to draw any con-
clusions as to the allotypes and other genetic markers of the
person responsible for the semen found in the panties and on
the vaginal swab. He did not find anything that he would clas-
sify as a foreign marker; everything he found was consistent
with Stawkowski.
   Roy detected semen on the panties, jeans, and vaginal swab.
She could not perform “DNA fingerprinting testing,” because
there was not “enough high-molecular-weight DNA from the
semen sample.” Roy performed testing in an effort to deter-
mine any blood group substances in the semen and found
blood group substance A and H. Based on the results, Roy
could not exclude Buckman as the semen donor. He fell within
the 35 percent of the male population who could be the pos-
sible semen donor. Nor could Roy exclude Eric Beckwith, an
individual arrested along with Buckman and Fisher. Through
the testing, Roy was able to exclude Stawkowski’s husband
and two acquaintances of Stawkowski as the semen donor. She
estimated that the semen found on the vaginal swab could not
have been there longer than 12 hours.
   The State made no mention of semen in its initial closing
argument. But the defense said that Till “also talks about an
interesting point: that he found spermatozoa that was present
in the findings from . . . Stawkowski, and he put a time frame
on that of about eight hours prior to her death.” Then, in the
State’s rebuttal, the prosecutor stated:
      And there’s absolutely no evidence whatsoever linking
      . . . Beckwith to this crime, period. There is evidence that
      he may have been responsible for the semen, but so could
      35 percent of the black population and the white popula-
      tion. And so could [Buckman]. He’s also in that percent-
      age of the population that could have been responsible
      for that semen. And somebody that’s cold enough to rob
      somebody and take a gun and shoot ’em twice in the head,
      are they cold enough to do something else, a last insult, a
      sexual assault? It’s certainly possible. I’m not suggesting
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         Nebraska Supreme Court Advance Sheets
                  311 Nebraska Reports
                       STATE v. BUCKMAN
                        Cite as 311 Neb. 304
      to you that that happened, but it certainly could have. We
      don’t know. But that’s not one of the mysteries of the case
      that we have to solve either.
   In response to the motion for DNA testing, Helligso tested
the panties and generated a profile of the sperm donor. Helligso
did not have a concern about the level of quantity of the
DNA present, and she was able to exclude Buckman as the
major contributor of the DNA tested.

                  (b) State’s Motion to Dismiss
   After receiving the test results, the State filed a motion to
dismiss Buckman’s request for relief under the DNA Testing
Act. The State asserted that the steering wheel cover and floor-
mats did not satisfy the requirement of § 29-4120(l)(b) that the
material was kept under circumstances likely to safeguard the
integrity of the biological material’s original composition. The
State highlighted that those items had been in storage for over
30 years, 10 years of which they were kept in a semi-trailer
truck parked outside with no climate control.

                  (c) District Court’s Decision
   The court denied relief under the DNA Testing Act. With
regard to the panties, the court stated that the prosecutor at
trial admitted that the State did not know whether Buckman
had sexual intercourse with Stawkowski and that it was not an
essential element of the crimes charged. Although Buckman
claimed that the lack of his semen on the panties would be
exculpatory, Buckman was not charged with sexual assault.
The court reasoned that the exclusion of Buckman as the
semen donor did not contradict, falsify, or discredit any evi-
dence presented at trial. The court stated: “The only thing the
lack of [Buckman’s] semen proves is that the admission of
expert testimony regarding the semen at trial was irrelevant.
The admission of such irrelevant evidence has been found to
be harmless error.” The court reasoned that it would be specu-
lation to conclude that the absence of Buckman’s semen on
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            Nebraska Supreme Court Advance Sheets
                     311 Nebraska Reports
                           STATE v. BUCKMAN
                            Cite as 311 Neb. 304
the panties would exclude him as the person who murdered
Stawkowski and determined that “[a]t best, the lack of evi-
dence is inconclusive and not exculpatory.”
   As to the steering wheel cover and floormats, the court
stated that the testing did not reveal any new or contradictory
evidence. The court noted that DNA testing on those items
generated only partial DNA profiles that were uninterpretable
and could not be compared to any individuals because of the
limited information in the partial profiles. The court deter-
mined that the absence of blood on these items was not excul-
patory, that it did not significantly undermine Roy’s testimony
at trial, and that it could be explained by the minimal amount
of sample originally found on those items and by possible
deterioration. The court also recognized Helligso’s testimony
that just because she was unable to detect blood did not mean
it was not present in 1988.
   Ultimately, the court concluded that the results obtained
did not produce exculpatory evidence or evidence that prob-
ably would have produced a substantially different result if it
had been presented at Buckman’s trial. It sustained the State’s
motion to dismiss and overruled Buckman’s request for relief
through further testing or a new trial.
   Buckman filed a timely appeal.

                III. ASSIGNMENT OF ERROR
   Buckman assigns that the district court erred by sustaining
the State’s motion to dismiss and denying him relief under the
DNA Testing Act.

                 IV. STANDARD OF REVIEW
   [1] A motion to dismiss a proceeding under the DNA Testing
Act after testing has been completed is addressed to the dis-
cretion of the trial court, and unless an abuse of discretion is
shown, the trial court’s determination will not be disturbed. 7
7
    State v. Amaya, 305 Neb. 36, 938 N.W.2d 346 (2020).
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             Nebraska Supreme Court Advance Sheets
                      311 Nebraska Reports
                            STATE v. BUCKMAN
                             Cite as 311 Neb. 304
   [2] An appellate court will uphold a trial court’s findings of
fact related to a motion for DNA testing unless such findings
are clearly erroneous. 8
                          V. ANALYSIS
   Here, the district court ordered the DNA testing that
Buckman requested, and the State does not argue in its brief
that the court erred in doing so. We begin by recalling the proc­
ess after such testing is ordered and results are received.
                         1. Procedure
   In the appeal from Buckman’s first proceeding under the
DNA Testing Act, we set forth the procedure applicable after
a court orders DNA testing. 9 Subsequent amendments to the
act have not altered the procedure. 10 After DNA testing results
are obtained,
     the question is whether the evidence obtained exonerates
     or exculpates the movant. Based on the test results, the
     movant may obtain relief in one of two ways, each of
     which requires a different quantum of proof. As previ-
     ously noted, when the test results exonerate or excul-
     pate the movant, the court may “vacate and set aside
     the judgment and release the person from custody.”
     § 29-4123(2). However, if the court does not vacate and
     set aside the judgment, the movant may file a motion
     for new trial based upon “newly discovered exculpatory
     DNA or similar forensic testing obtained under the DNA
     Testing Act.” 11
We elaborated on when a court may vacate a conviction and
release the person under § 29-4123(2) and when it may order a
new trial under § 29-4123(3). 12 We explained:
 8
     Id.
 9
     State v. Buckman, supra note 6.
10
     See, 2015 Neb. Laws, L.B. 245, § 3; 2007 Neb. Laws, L.B. 296, § 48.
11
     State v. Buckman, supra note 6, 267 Neb. at 515, 675 N.W.2d at 381.
12
     See State v. Buckman, supra note 6.
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                      311 Nebraska Reports
                            STATE v. BUCKMAN
                             Cite as 311 Neb. 304
        [T]he court may vacate and set aside the judgment in
        circumstances where the DNA testing results are either
        completely exonerative or highly exculpatory—when
        the results, when considered with the evidence of the
        case which resulted in the underlying judgment, show a
        complete lack of evidence to establish an essential ele-
        ment of the crime charged. . . . This requires a finding
        that guilt cannot be sustained because the evidence is
        doubtful in character and completely lacking in probative
        value. . . . [I]n other circumstances where the evidence is
        merely exculpatory, the court may order a new trial if the
        newly discovered exculpatory DNA evidence is of such a
        nature that if it had been offered and admitted at the for-
        mer trial, it probably would have produced a substantially
        different result. 13

             2. Whether Results Are Exonerative
                         or Exculpatory
   [3] With this understanding, we turn to consideration of
whether the DNA testing results exonerated or exculpated
Buckman. We recall that postconviction DNA evidence that
does not falsify or discredit evidence that was necessary to
prove an essential element of the crime does not exonerate the
movant. 14 DNA testing results that are not incompatible with
trial evidence of the movant’s guilt fail to exonerate the movant
of guilt. 15 We are also mindful of the definition of exculpatory
evidence contained in the DNA Testing Act: “[E]xculpatory
evidence means evidence which is favorable to the person in
custody and material to the issue of the guilt of the person
in custody.” 16
13
     Id. at 518, 675 N.W.2d at 383.
14
     See State v. Parmar, 283 Neb. 247, 808 N.W.2d 623 (2012).
15
     Id.16
     See § 29-4119.
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             Nebraska Supreme Court Advance Sheets
                      311 Nebraska Reports
                             STATE v. BUCKMAN
                              Cite as 311 Neb. 304
    Buckman argues that the DNA testing results contradict the
State’s theory at trial and create a reasonable doubt about guilt
that would have produced a substantially different result at
trial. Because the State presented evidence at trial that blood
consistent with that of Stawkowski was on the steering wheel
cover and floormats of Buckman’s car but subsequent DNA
testing found no evidence of blood, he contends that the scien-
tific evidence used by the State to place him at the scene of the
crime has been discredited.
    [4] The results of testing on the steering wheel cover and
floormats is best regarded as inconclusive. When DNA test
results are either inculpatory, inconclusive, or immaterial to the
issue of the person’s guilt, the results will not entitle the per-
son to relief under the DNA Testing Act. 17 Although Helligso
was unable to detect any blood on the steering wheel cover or
floormats, she testified that did not mean an expert who said
there was blood present in 1988 was wrong.
    Buckman also contends that the DNA testing yielded excul-
patory evidence because it excluded him as the source of
semen/sperm found on Stawkowski at the time of her death.
We disagree that the result fits within the definition of excul-
patory evidence. What is important is that evidence must be
“material to the issue of the guilt of the person in custody”
in order to be exculpatory. 18 Buckman was not charged with
a sexual assault, and his exclusion as the source of the semen
was not material to whether he was guilty of murder or using a
weapon to commit a felony.
    We also disagree with Buckman’s characterization of the
evidence at trial regarding the semen. He called such evi-
dence “exhaustive,” 19 “a great measure of evidence,” 20 and “a
17
     State v. Amaya, supra note 7.
18
     See § 29-4119.
19
     Brief for appellant at 41.
20
     Id.
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              Nebraska Supreme Court Advance Sheets
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                         STATE v. BUCKMAN
                          Cite as 311 Neb. 304
s­ potlight [of] the prosecution.” 21 The bill of exceptions from
 the trial spanned over 1,600 pages; fewer than 40 of those
 pages referred to semen, sperm, or Stawkowski’s sexual activ-
 ity. Forty-six witnesses testified; four of those witnesses pro-
 vided testimony about semen and Stawkowski’s having sexual
 intercourse. Over 200 exhibits were offered; 5 exhibits related
 to either Stawkowski’s panties or swabs from her vagina
 and rectum.
    The trial record shows that evidence concerning semen was
 a small part of the overall picture. To begin, the prosecution
 warned in its opening statement that there was “no indication
 that [Stawkowski] had been sexually assaulted” or that the
 semen discovery “has anything to do with this case.” Then,
 Stawkowski’s husband testified that he did not have knowledge
 of Stawkowski’s having sexual intercourse with anyone on
 the day in question. Next, Till, the pathologist, testified that
 Stawkowski’s body was fully clothed, that he found sperm in
 her vagina, and that the sperm could have been there within 8
 hours of her death. After that, Schanfield testified that follow-
 ing testing of the panties extract and vaginal swab extract—
 which were among a number of items he tested—he was
 unable to draw any conclusions as to the genetic markers of the
 person responsible for the semen. Later, Roy offered her testi-
 mony about the numerous items of evidence she tested, which
 included testimony that Buckman was among the 35 percent
 of the male population who could be the possible semen donor
 and that the semen she found on the vaginal swab could not
 have been there longer than 12 hours. Moving to closing argu-
 ments, semen was first mentioned by the defense. Finally, in
 the State’s rebuttal argument, the prosecutor told the jury that
 whether the murderer also committed a sexual assault was “not
 one of the mysteries of the case that we have to solve.” The
 presence of semen from someone other than Stawkowski’s
21
     Id. at 42.
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                              STATE v. BUCKMAN
                               Cite as 311 Neb. 304
husband seemed to be more of an unexplained happenstance
than a focal point of the prosecution.
   Buckman relies on State v. Parmar. 22 There, a jury convicted
LeRoy J. Parmar of first degree murder. Two eyewitnesses at
trial testified that Parmar had physically assaulted the victim
and that he was the only male present when the victim was
robbed and killed. 23 Subsequent DNA testing on bloodstains
found on the victim’s bedsheet excluded Parmar as a contribu-
tor. Two of the six samples contained mixed DNA from two
male contributors—although the male victim was a contributor,
Parmar was not. We agreed with the trial court that the DNA
testing results did not exonerate Parmar; however, we deter-
mined that the court erred in denying Parmar a new trial. We
noted that the testing results completely excluded Parmar as
a contributor to the DNA samples found on the victim’s bed-
sheet, that the results established the presence of an unidenti-
fied male’s DNA, and that the results were contrary to the testi-
monies of two key eyewitnesses against Parmar. We concluded
that the DNA testing results tended to create a reasonable doubt
about Parmar’s guilt and that they were probative of a factual
situation different from that testified to by the State’s two eye-
witnesses against Parmar.
   Parmar is distinguishable. There, the testimonies of the two
eyewitnesses were the key evidence against Parmar and the
DNA testing results were probative of a situation contrary to
their version of the facts. In the instant case, there was no eye-
witness to the murder. Nor was there evidence that Stawkowski
had been sexually assaulted at the time of the murder. And as
discussed next, a multitude of other circumstantial evidence
tied Buckman to the murder.
   [5] If DNA testing does not detect the presence of a pris-
oner’s DNA on an item of evidence, such result is at best
inconclusive, especially when there is other credible evidence
22
     State v. Parmar, supra note 14.
23
     See id.
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                             STATE v. BUCKMAN
                              Cite as 311 Neb. 304
tying the defendant to the crime. 24 Evidence at trial estab-
lished that Buckman was dissatisfied with either the quantity
or the quality of drugs he was buying from Stawkowski and
that he had threatened to steal drugs from Stawkowski. When
Stawkowski’s body was found, her purse—which had con-
tained cocaine—was missing. The day prior to the murder,
Buckman was trying to sell clothing to get money needed
to pay Fisher’s babysitter. After the murder, and after
Stawkowski’s purse containing approximately $2,000 went
missing, Buckman spent large amounts of money and still pos-
sessed over $600 at the time of his arrest. Hours before the
murder, Buckman had a gun in his possession; the same caliber
gun was used to shoot Stawkowski. A cellmate of Buckman
testified that Buckman bragged of killing Stawkowski over
drugs, taking “$4500 of drugs” from her, and using it to pay
off debts.
   Other evidence tied Buckman to the scene of the murder.
Witnesses placed Buckman with Fisher in the hours before and
after the murder, and Fisher was picked up on a road near the
location of the murder at approximately 1:30 a.m. Buckman
was known to wear slippers in public, and slippers were
located near the murder scene. Buckman smoked Kool ciga-
rettes and opened his cigarette packages from the bottom. A
Kool cigarette butt was found in Stawkowski’s car and test-
ing showed that Buckman fell within the 4.8 percent of the
African-American population who could have smoked it. A
package of Kool cigarettes, opened from the bottom, was
located in a field near Stawkowski’s car. Stawkowski could not
be excluded as the source of blood found on items of clothing
that Buckman was wearing at the time of his arrest, on the slip-
pers found near the murder scene, and on the steering wheel
cover and floormats of Buckman’s car.
   In sum, the evidence regarding blood on the steering
wheel cover and floormats was inconclusive and the evidence
24
     State v. Amaya, supra note 7.
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                        STATE v. BUCKMAN
                         Cite as 311 Neb. 304
excluding Buckman as the source of the semen was not mate-
rial to the crimes charged. Given all of the other evidence
linking Buckman to the crimes, the testing results were not of
such a nature that they probably would have produced a sub-
stantially different result if offered at trial. We find no error in
the district court’s findings of fact, and we conclude the court
did not abuse its discretion in sustaining the State’s motion
to dismiss.

                      VI. CONCLUSION
   Because the district court’s factual findings were not clearly
erroneous and it did not abuse its discretion in sustaining the
State’s motion to dismiss, we affirm its judgment.
                                                    Affirmed.
   Heavican, C.J., and Freudenberg, J., not participating.
